
5 A.3d 694 (2010)
416 Md. 93
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
David N. HONICK, Respondent.
Misc. Docket AG No. 41, September Term 2010.
Court of Appeals of Maryland.
October 5, 2010.

ORDER
This matter came before the Court of the Joint Petition for Placement on Inactive Status. Upon consideration of said petition, it is this 5th day of October, 2010,
ORDERED, that the Respondent, DAVID N. HONICK, be, and is hereby, placed on inactive status until further Order of this Court, and it is
ORDERED, that the Clerk of this Court shall strike the name of David N. Honick from the register of attorneys in this Court until further Order of this Court, shall certify that fact to the Client Protection Fund and the Clerk's of all Judicial Tribunals in this State in accordance with Maryland Rule 16-772(d).
